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9    Irico Display Devices Co., Ltd.

10
                               UNITED STATES DISTRICT COURT
11
                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
12
                                       OAKLAND DIVISION
13

14    IN RE: CATHODE RAY TUBE (CRT)            )   Master File No. 07-cv-05944-JST
      ANTITRUST LITIGATION,                    )
15                                             )   MDL No.: 1917
                                               )
16    THIS DOCUMENT RELATES TO:                )
                                               )   DECLARATION OF ZHANG
17    ALL DIRECT PURCHASER ACTIONS             )   WENKAI IN SUPPORT OF
                                               )   DEFENDANTS IRICO GROUP
18    ALL INDIRECT PURCHASER ACTIONS           )   CORP. AND IRICO DISPLAY
                                               )   DEVICES CO., LTD.’S
19                                             )   EMERGENCY MOTION FOR
                                               )   RELIEF FROM SCHEDULING
20                                                 ORDER (CIV. L.R. 16-2(d))

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      DECL. OF ZHANG WENKAI IN SUPPORT OF                        MASTER FILE NO. 07-CV-05944-JST
      IRICO’S MOTION FOR RELIEF                                                    MDL NO. 1917
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1           I, Zhang Wenkai, declare as follows:

2           1.      I am a citizen of the People’s Republic of China and reside in Shaanxi Province,

3    People’s Republic of China.

4           2.      I make this declaration in support of the Motion for Relief from Scheduling

5    Order filed by Irico Group Corp. (“Irico Group”) and Irico Display Devices Co., Ltd.’s (“Irico

6    Display,” collectively, the “Irico Defendants”).

7           3.      I am currently the Deputy General Counsel for Irico Group Corp. and have been

8    involved in the day-to-day management of this litigation since I started with the company in

9    September 2017. I have also been involved with the coordination of the depositions for Irico

10   witnesses Wang Zhaojie and Su Xiaohua since August 2021, and the deposition of Yan

11   Yunlong since December 2021.

12          4.      I understand that, until earlier this week, under the pandemic protection

13   requirements of the health department of Shaanxi Province, People’s Republic of China, where

14   the Irico Defendants are headquartered, any witnesses returning from Macau would have been

15   subject to quarantine obligations consisting of a minimum of twenty-one days in a government-

16   run facility and an additional seven days of home confinement (“21+7 Day Policy”). I further

17   understand that on June 27, 2022, based on a recent change in the national pandemic prevention

18   policy, the Shaanxi provincial authorities updated their quarantine provisions to require a

19   minimum of fourteen days in a government-run facility and an additional seven days of home

20   confinement (“14+7 Day Policy”). It is also my understanding that these times can be increased

21   at the sole discretion of the Shaanxi Province authorities.

22          5.      I worked with Wang Zhaojie, Su Xiaohua, and Yan Yunlong during the process

23   of applying for the visas necessary to travel to Macau in May 2022. All three witnesses

24   cooperated during this process, including providing all necessary information and

25   documentation required to obtain the visas.

26          6.      Su Xiaohua formally resigned from Irico on May 25, 2022. I contacted Mr. Su

27   and learned that Mr. Su resigned because he refused to travel to Macau for a deposition given

28   the severe quarantine requirements that he would face upon his return to mainland China (21+7
      DECL. OF ZHANG WENKAI IN SUPPORT OF                                  MASTER FILE NO. 07-CV-05944-JST
      IRICO’S MOTION FOR RELIEF
                                                         1                                   MDL NO. 1917
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